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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Marcus David LaPointe,             )
                                   )
              Plaintiff,           )            ORDER
                                   )
       vs.                         )
                                   )
Burleigh County Housing Authority, )            Case No. 1:20-cv-203
                                   )
              Defendant.           )


        Plaintiff initiated the above-captioned action pro se and in forma pauperis by Complaint on

November 5, 2020. (Doc. No. 1). He filed notice of his consent to the Magistrate Judge’s exercise of

jurisdiction on November 16, 2020. (Doc. No. 6). The Court subsequently screened his Complaint

pursuant to 28 U.S.C. § 1915A. Concluding that he had failed to satisfy the basic pleading

requirements of Rule 8 and otherwise articulate a basis for this Court’s exercise of federal question or

diversity jurisdiction, the Court issued an order on December 7, 2020, giving him until January 4,

2021, to either file an Amended Complaint or otherwise show cause why this matter should not be

dismissed. (Doc. No. 7). The Court further cautioned him that a failure on his part to comply with

this directive would result in the summary dismissal of this action. (Id.).

        Plaintiff’s January 4, 2021, deadline has now lapsed. Notably, Plaintiff has neither filed an

Amended Complaint nor otherwise shown cause why this matter should not be dismissed.

Accordingly, for the reasons articulated in its December 7, 2020, order, the Court DISMISSES the

above-captioned action without prejudice.

        IT IS SO ORDERED.

        Dated this 11th day of January, 2021.

                                                /s/ Clare R. Hochhalter
                                                Clare R. Hochhalter, Magistrate Judge
                                                United States District Court
